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UNITED STATES DISTRICT COURT

THE SOUTHERN DISTRICT OF NEW YORK
x Our File No. 16555DZHIW

THE WAVE STUDIO, LLC.,
Civil Action No.: 7:13-cv-09239

Plaintiff,
ANSWER TO FIRST

-against-
AMENDED COMPLAINT

GENERAL HOTEL MANAGEMENT LTD., VFM
LEONADO, INC; PEGASUS SOLUTIONS, INC.,
ABOUT, INC., d/b/a ABOUT.COM; ALLIANCE
RESERVATIONS NETWORK d/b/a
RESERVETRAVEL.COM; BUDGETWORKS, INC.,
d/b/a SETAICONDORENTALS.COM; DELTA
AIRLINES d/b/a DELTA.COM; ESSLINGER
WOOTEN MAXWELL, INC. d/b/a
NELSONGONZALEZ.COM; JETBLUE AIRWAYS
CORPORATION d/b/a JETBLUE.COM; FROMMER
MEDIA d/b/a FROMMERS.COM; LEXYL TRAVEL
TECHNOLOGIES d/b/a HOTELPLANNER.COM; IBT
MEDIA INC. d/b/a IBTIMES.COM; MYSOBE.COM
d/b/a MYSOBE.COM; KAYAK SOFTWARE
CORPORATION d/b/a KAYAK.COM;
NETADVANTAGE.COM d/b/a
IHSADVANTAGE.COM; ORBITZ WORLDWIDE
LLC. d/b/a ORBITZ.COM; QUESTEX MEDIA, LLC.
d/b/a FIVESTARALLIANCE.COM; CEDORA, INC.
d/b/a REALADVENTURES.COM; SETAI OWNERS
LLC. d/b/a SETAIL.COM d/b/a SETAI-REALTY.COM;
SPA FINDER, INC. d/b/a SPAFINDER.COM; THE
LEADING HOTELS OF THE WORLD d/b/a
LHW.COM; THIS EXIT LLC. d/b/a
ROADSIDEAMERICA.COM; room77 d/b/a
ROOM77.COM; EXPEDIA, INC. d/b/a
EXPEDIA.COM; HOTELS.COM GP LLC. d/b/a
HOTELS.COM; d/b/a TRAVELNOW.COM;
RESERVATION COUNTER d/b/a
RESERVATIONCOUNTER.COM; AMERICAN
AIRLINES, INC. d/b/a AAVACATIONS.COM;
UNITED AIRLINES INC. d/b/a
HOTELS.UNITED.COM; HOTELSBYME.COM d/b/a
HOTELSBYME.COM; SIGNATURE TRAVEL
NETWORK d/b/a
SIGNATURETRAVELNETWORK.COM; FROSCH
INTERNATIONAL TRAVEL, INC. d/b/a
FROSCHVATIONS.COM; VACATIONS BY TZELL
d/b/a VACATIONBYTZELL,.COM; ANDREW

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HARPER d/b/a ANDREWHARPER.COM;
BOOKIT.COM INC. d/b/a BOOKIT.COM; ESCALA
VACATIONS d/b/a ESCALAVACATIONS.COM;
FAREBUZZ d/b/a FAREBUZZ.COM; FAREPORTAL
INC. d/b/a CHEAPOAIR.COM; RANDOM HOUSE
d/b/a FODORS.COM; GETAROOM.COM d/b/a
GETAROOM.COM; GOGOBOT, INC. d/b/a
GOGOBOT.COM; HIPMUNK, INC. d/b/a
HIPMUNK.COM; HOTELGUIDES.COM, INC. d/b/a
HOTELGUIDES.COM; MARKET ES INC. d/b/a
HOTELS-AND-DISCOUNTS.COM;
HOTELSTRAVEL.COM d/b/a
HOTELSTRAVEL.COM; ESTEBAN OLIVEREZ d/b/a
INSANELY CHEAPFLIGHTS.COM; LUXEMONT
d/b/a JUSTLUXE.COM; LONELY PLANET GLOBAL,
INC. d/b/a LONELYPLANET.COM; LUXE TRAVEL,
LLC. d/b/a LUXETRAVEL.COM; LUXURY TRAVEL
MEDIA d/b/a LUXURYTRAVELMAGAZINE.COM;
METRO TRAVEL GUIDE d/b/a
METROTRAVELGUIDE.COM; MOBISSIMO INC,
d/b/a MOBISSIMO.COM; NEXTAG, INC, d/b/a
NEXTAG.COM; QANTAS AIRWAYS LIMITED d/b/a
QANTAS.COM.AU; QATAR AIRWAYS d/b/a
ROOMRATE.COM; WK TRAVEL INC. d/b/a
TRAVELSPOT.US. d/b/a ONETRAVEL.COM;
TRAVELOCITY.COM LP d/b/a
TRAVELOCITY.COM; TRIPADVISOR LLC. d/b/a
TRIPADVISOR.COM; TABLET INC. d/b/a
TABLETHOTELS.COM and DOES1-100,

Defendants.
me -- x

Defendant, DELTA AIRLINES, INC. s/hfa DELTA AIRLINES, INC. d/b/a
DELTA.COM:, by and through its attorneys, BAXTER SMITH & SHAPIRO, P.C.,
answering the plaintiffs First Amended Complaint, upon information and belief, state(s) as
follows:

1. Denies knowledge and information sufficient to form a belief as to the truth of

the allegations of the first amended complaint as contained in paragraphs thereof numbered "1."

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2. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered "2."
3. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered "3."
4. Denies each and every allegation of the first amended complaint as contained
in the paragraph thereof numbered "4," insofar as they refer to this answering defendant.
5. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered "5."
6. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered "6."
7. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered "7."
8. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered "8."
9. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered "9."
10. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"10."
11. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered

"] j.”

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12. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"12."

13. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"3."

14. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"14."

15. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"15."

16. Denies each and every allegation of the first amended complaint as contained in
paragraphs thereof numbered "16" except admits that Delta Airlines, Inc. uses the domain name
Delta.com, referring all conclusions of law and fact to the Court.

17. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"17,"

18. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"18."

19. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered

"yg"

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20. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"20."

21. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"17

22. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"22."

23. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"23."

24. Denies knowledge and information sufficient to form a belief’ as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"24."

25. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"25."

26. Denies knowledge and information sufficient to form a belief as to the truth of

"the allegations of the first amended complaint as contained in paragraphs thereof numbered

"96,"
27. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered

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28. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"28."

29. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"29,"

30. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
130."

31. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
nayn

32, Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered.
"32,"

33. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"33."

34. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"34."

35. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered

nag"

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36. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"36,"

37. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"37."

38. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"38."

39. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"39,"

40. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"40,"

41. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"41."

42. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"42."

43. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered

"a3"

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44. Denies knowledge and information sufficient to form a belief’ as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"44."

45, Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"45."

46. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"46."

47, Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"47,"

48. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"48."

49. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"49."

50. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"50."

51. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered

"51."

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52. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"52."

53. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
153."

54. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"54."

55. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"55."

56. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"56."

57. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"57."

58. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"58."

59, Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered

"gg"

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60. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"60,"

61. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"61."

62. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"62."

63. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"63."

64. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"64."

65. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"65."

66. | Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"66."

67. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered

"67,"
10

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68. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"68."

69. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"69."

70. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"70."

71. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"71."

72. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
nq 8

73. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"73."

74. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"74,"

75. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered

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76. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
N76."

77. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"77"

78. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"78."

79. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"79,"

80. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"80."

81. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"81."

82. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"82."

83. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered

"Qgn
12

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84. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"84."

85. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"85."

86. Denies knowledge and information sufficient to form a belief as to the truth of
ihe allegations of the first amended complaint as contained in paragraphs thereof numbered
"86."

87, Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"87."

88. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"88."

89. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"89,"

90. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"90,"

91. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered

*"Q],"
, 13

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92. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"92,"

93. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"93,"

94. Denies each and every allegation of the first amended complaint as contained
in the paragraph thereof numbered "94," insofar as they refer to this answering defendant.

AS AND FOR AN ANSWER TO THE FIRST CLAIM FOR RELIEF

95. The answering defendant repeats, reiterates and realleges each and every
answer to the allegations contained in the paragraphs of the complaint as contained in
paragraphs “1” through “95” with the same force and effect as though set forth more fully
herein at length.

96. Denies each and every allegation of the first amended complaint as contained
in the paragraph thereof numbered "96," insofar as they refer to this answering defendant.

97. Denies each and every allegation of the first amended complaint as contained
in the paragraph thereof numbered "97," insofar as they refer to this answering defendant.

98. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"98."

99. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered

"gg"

14

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100. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"100."

101. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"101."

102. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"102."

103. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"103.".

104. Denies each and every allegation of the first amended complaint as contained
in the paragraph thereof numbered "104," insofar as they refer to this answering defendant.

105. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"105."

106. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"106."

107. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered

"107."

15

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108. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"108."

109. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"109,"

110. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"110."

111. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"111."

112. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"y12."

113. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"113."

114. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"144."

115. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered

"] 15."
16

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116. Denies knowledge and information sufficient to form a belief as to the truth of
ihe allegations of the first amended complaint as contained in paragraphs thereof numbered
"116."

117. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"117."

118. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"118."

119, Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"119,"

120. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"120."

121. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"121."

122. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"122."

123. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered

"123."
17

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124. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"124."

125. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"125."

126. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"126."

127. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"127."

128. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"128."

129. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"29."

130. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"730."

131. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered

"7371."
18

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132. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"432."

133. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"133."

134. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"134."

135. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"435."

136. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"136."

137. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"137."

138. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"138."

139. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered

"E39."
19

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140. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"140."

141. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"141."

142. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"142."

143. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"143,"

144, Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"144."

145. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"145."

146. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"146."

147. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered

"147."
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148. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"148."

149, Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"149."

150. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"150."

151. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"151."

152. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"152."

153. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"153."

154. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"154."

155. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered

"155."
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156. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"156,"

157. Denies each and every allegation of the first amended complaint as contained
in the paragraph thereof numbered "157," insofar as they refer to this answering defendant.

158. Denies each and every allegation of the first amended complaint as contained
in the paragraph thereof numbered "158," insofar as they refer to this answering defendant.

159. Denies each and every allegation of the first amended complaint as contained
in the paragraph thereof numbered "159," insofar as they refer to this answering defendant.

160. Denies each and every allegation of the first amended complaint as contained
in the paragraph thereof numbered "160," insofar as they refer to this answering defendant.

161. Denies each and every allegation of the first amended complaint as contained
in the paragraph thereof numbered "161," insofar as they refer to this answering defendant.

AS AND FOR AN ANSWER TO THE SECOND CLAIM FOR RELIEF

162. The answering defendant repeats, reiterates and realleges each and every
answer to the allegations contained in the paragraphs of the complaint as contained in
paragraphs “1” through “161” with the same force and effect as though set forth more fully
herein at length.

163. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"163."

164. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered

"164."
22

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165. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"165,"

166. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"166."

167. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"167."

168. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"168."

169. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"169."

170. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"170."

171. Denies each and every allegation of the first amended complaint as contained
in the paragraph thereof numbered "171," insofar as they refer to this answering defendant.

172. Denies each and every allegation of the first amended complaint as contained

in the paragraph thereof numbered "172," insofar as they refer to this answering defendant.

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173. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"173."

AS AND FOR AN ANSWER TO THE THIRD CLAIM FOR RELIEF

174. The answering defendant repeats, reiterates and realleges each and every
answer to the allegations contained in the paragraphs of the complaint as contained in
paragraphs “1” through “174” with the same force and effect as though set forth more fully
herein at length.

175. Denies each and every allegation of the first amended complaint as contained
in the paragraph thereof numbered "175," insofar as they refer to this answering defendant.

176. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"176."

177. Denies each and every allegation of the first amended complaint as contained
in the paragraph thereof numbered "177," insofar as they refer to this answering defendant, and
referring all conclusions of law and fact to the Court.

178. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"178."

179. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered

"179."

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180. Denies each and every allegation of the first amended complaint as contained
in the paragraph thereof numbered "180," insofar as they refer to this answering defendant, and
referring all conclusions of law and fact to the Court.

181. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"I81."

182. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"182."

183. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"183."

184. Denies each and every allegation of the first amended complaint as contained
in the paragraph thereof numbered "184," insofar as they refer to this answering defendant, and
referring all conclusions of law and fact to the Court.

185. Denies each and every allegation of the first amended complaint as contained
in the paragraph thereof numbered "185," insofar as they refer to this answering defendant.
Court.

186. Denies knowledge and information sufficient to form a belief as to the truth of
the allegations of the first amended complaint as contained in paragraphs thereof numbered
"186."

AS AND FOR A_ FIRST AFFIRMATIVE DEFENSE

187. The first amended complaint should be dismissed for failure to state a cause

of action against the answering defendant.
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AS AND FOR A SECOND AFFIRMATIVE DEFENSE

188. Any damages sustained by the plaintiff were caused by the culpable conduct
of the plaintiff, including contributory negligence and/or assumption of risk, and/or misuse
of the product and not by the culpable conduct, acts/or omissions, breach of contract and/or
warranties or negligence of the answering defendant.

AS AND FOR A THIRD AFFIRMATIVE DEFENSE

189. Plaintiff was under an obligation to mitigate its damages and failed to do so.

AS AND FOR A FOURTH AFFIRMATIVE DEFENSE

190. The plaintiff's own acts and/or omissions and/or breach of contract were the

sole proximate cause of the alleged damages.

AS AND FOR A FIFTH AFFIRMATIVE DEFENSE

191. To the extent that there was an agreement between the parties, it was
breached by the plaintiff.

AS AND FOR A SIXTH AFFIRMATIVE DEFENSE

192. The first amended complaint is barred by the doctrine of Unclean Hands.

AS AND FOR A SEVENTH AFFIRMATIVE DEFENSE

193. The complaint is barred by the doctrine of Laches.

AS AND FOR AN EIGHT AFFIRMATIVE DEFENSE

194. The complaint is barred by the doctrine of Estoppel.

AS AND FOR A NINTH AFFIRMATIVE DEFENSE

195. The complaint is barred by the doctrine of Waiver and/or Release.

AS AND FOR A TENTH AFFIRMATIVE DEFENSE

196. The complaint should be dismissed due to the plaintiff's failure to join all

necessary parties to this action.
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AS AND FOR AN ELEVENTH AFFIRMATIVE DEFENSE

197. The plaintiffs claims are barred by the applicable statute(s) of limitations.

AS AND FOR A TWELFTH AFFIRMATIVE DEFENSE

198. The first amended complaint should be dismissed on the ground that the

Court lacks personal jurisdiction.

AS AND FOR A CROSS-CLAIM AGAINST THE CO-DEFENDANTS, GENERAL
HOTEL MANAGEMENT LTD., VFM LEONADO, INC; PEGASUS SOLUTIONS,
INC., ABOUT, INC., d/b/a ABOUT.COM; ALLIANCE RESERVATIONS
NETWORK d/b/a RESERVETRAVEL.COM; BUDGETWORKS, INC., d/b/a
SETAICONDORENTALS.COM; ESSLINGER WOOTEN MAXWELL, INC. d/b/a
NELSONGONZALEZ.COM; JETBLUE AIRWAYS CORPORATION d/b/a
JETBLUE.COM; FROMMER MEDIA d/b/a FROMMERS.COM; LEXYL TRAVEL
TECHNOLOGIES d/b/a HOTELPLANNER.COM; IBT MEDIA INC, d/b/a
IBTIMES.COM; MYSOBE.COM d/b/a MYSOBE.COM; KAYAK SOFTWARE
CORPORATION d/b/a KAYAK.COM; NETADVANTAGE.COM d/b/a
THSADVANTAGE.COM; ORBITZ WORLDWIDE LLC. d/b/a ORBITZ.COM;
QUESTEX MEDIA, LLC. d/b/a FIVESTARALLIANCE.COM; CEDORA, INC. d/b/a
REALADVENTURES.COM; SETAI OWNERS LLC, d/b/a SETALCOM d/b/a
SETAI-REALTY.COM; SPA FINDER, INC. d/b/a SPAFINDER.COM; THE
LEADING HOTELS OF THE WORLD d/b/a LHW.COM; THIS EXIT LLC. d/b/a
ROADSIDEAMERICA.COM; room77 d/b/a ROOM77.COM; EXPEDIA, INC. d/b/a
EXPEDIA.COM; HOTELS.COM GP LLC. d/b/a HOTELS.COM; d/b/a
TRAVELNOW.COM; RESERVATION COUNTER d/b/a
RESERVATIONCOUNTER.COM; AMERICAN AIRLINES, INC, d/b/a
AAVACATIONS.COM; UNITED AIRLINES INC, d/b/a HOTELS.UNITED.COM;
HOTELSBYME.COM d/b/a HOTELSBYME.COM; SIGNATURE TRAVEL
NETWORK d/b/a SIGNATURETRAVELNETWORK.COM; FROSCH
INTERNATIONAL TRAVEL, INC. d/b/a FROSCHVATIONS.COM; VACATIONS
BY TZELL d/b/a VACATIONBYTZELL.COM; ANDREW HARPER d/b/a
ANDREWHARPER.COM; BOOKIT.COM INC. d/b/a BOOKIT.COM; ESCALA
VACATIONS d/b/a ESCALAVACATIONS.COM; FAREBUZZ d/b/a
FAREBUZZ.COM; FAREPORTAL INC. d/b/a CHEAPOAIR.COM; RANDOM
HOUSE d/b/a FODORS.COM; GETAROOM.COM d/b/a GETAROOM.COM;
GOGOBOT, INC. d/b/a GOGOBOT.COM; HIPMUNK, INC. d/b/a BIPMUNK.COM;
HOTELGUIDES.COM, INC. d/b/a HOTELGUIDES.COM; MARKET ES INC. d/b/a
HOTELS-AND-DISCOUNTS.COM; HOTELSTRAVEL.COM d/b/a
HOTELSTRAVEL.COM; ESTEBAN OLIVEREZ d/b/a
INSANELY CHEAPFLIGHTS.COM; LUXEMONT d/b/a JUSTLUXE.COM;
LONELY PLANET GLOBAL, INC. d/b/a LONELYPLANET.COM; LUXE
TRAVEL, LLC. d/b/a LUXETRAVEL.COM; LUXURY TRAVEL MEDIA d/b/a
LUXURYTRAVELMAGAZINE.COM; METRO TRAVEL GUIDE d/b/a
METROTRAVELGUIDE.COM; MOBISSIMO INC. d/b/a MOBISSIMO.COM;

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NEXTAG, INC. d/b/a NEXTAG.COM; QANTAS AIRWAYS LIMITED d/b/a
QANTAS.COM.AU; QATAR AIRWAYS d/b/a ROOMRATE.COM; WK TRAVEL
INC. d/b/a TRAVELSPOT.US. d/b/a QONETRAVEL.COM; TRAVELOCITY.COM

LP d/b/a TRAVELOCITY.COM; TRIPADVISOR LLC. d/b/a TRIPADVISOR.COM;
TABLET INC. d/b/a TABLETHOTELS.COM and DOES 1-100, THE ANSWERING
DEFENDANT, DELTA ATRLINES, INC. s/h/a DELTA AIRLINES, INC. d/b/a
DELTA.COM ALLEGES THE FOLLOWING:

199. In the event that the plaintiff recovers any judgment against the defendants
herein, the answering defendant demands that any judgment be divided among all
defendants in accordance with the degree of culpability of each herein, and further demands
that the answering defendant be granted indemnification in accordance with any applicabie
contracts, agreements, warranties, express or implied, or by reason of the active and primary
copyright infringement and/or wrongdoing and/or negligence of the other defendants herein.

AS AND FOR A COUNTERCLAIM AGAINST THE PLAINTIFF, THE WAVE
STUDIO, LLC., THE ANSWERING DEFENDANT, DELTA AIRLINES, INC. s/h/a
DELTA AIRLINES, INC. d/b/a DELTA.COM, ALLEGES THE FOLLOWING:

200. That if plaintiff was caused to sustain damages at the time(s) and place(s) set
forth in first amended complaint through any fault other than plaintiff's own and/or the fault
of the co-defendants herein, then said damages arose in whole or in part from the acts and/or
omissions and/or breach of contract and/or negligence of the plaintiff, The Wave Studio,
LLC, and if any judgment is recovered herein by plaintiff against the answering defendant,
said defendant will be damaged thereby and will be entitled to proportionate indemnity

and/or contribution on the basis of proportionate responsibility from the plaintiff, The Wave

Studio, LLC.

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Dated: White Plains, New York
July 8, 2014

TO:

LEASON ELLIS, LLP.
Attorneys for Plaintiff

One Barker Avenue, Fifth Floor
White Plains, New York 10601
(914) 821-3075

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Yours, etc.,

BAXTER SMITH & SHAPIRO, P.C.
we}

By: N

~°Sigh R. Shapiro
Attorneys for Defendant
DELTA AIRLINES, INC. s/h/a DELTA
AIRLINES, INC. d/b/a DELTA.COM
200 Mamaroneck Avenue, Suite 601
White Plains, New York 10601
(914) 684-1055

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AFFIDAVIT OF SERVICE BY E-FILING

STATE OF NEW YORK )
COUNTY OF WESTCHESTER) ss.:

ELSA A. COLOTTI, being duly sworn, deposes and says:

Deponent is not a party to the action, is over 18 years of age and resides in
Westchester, New York.

On the 8" day of July 2014, deponent served the within ANSWER TO FIRST
AMENDED COMPLAINT WITH NOTICE OF EXAMINATION BEFORE TRIAL
upon the following at their respective addresses:

TO:

LEASON ELLIS,LLP.
Attorneys for Plaintiff

One Barker Avenue, Fifth Floor
White Plains, New York 10601
(914) 821-3075

by E-FILING,

J

ELSA A. COLOTTI

Sworn to before me this
8" day of July, 2014

S
NOTARY PUBLIC

SIM R, SHAPIRO

Notary Public, State of New York

Reg, No 025H6008722

Qualified in Westchester County

My Commission Expires June 15, 2018

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UNITED STATES DISTRICT COURT

THE SOUTHERN DISTRICT OF NEW YORK

= ---- x Our File No. 16555DZHIW
THE WAVE STUDIO, LLC.,

Civil Action No.: 7:13-cv-09239
Plaintiff,
-against- NOTICE OF EXAMINATION
BEFORE TRIAL
GENERAL HOTEL MANAGEMENT LTD., VFM
LEONADO, INC; PEGASUS SOLUTIONS, INC.,
ABOUT, INC., d/b/a ABOUT.COM; ALLIANCE
RESERVATIONS NETWORK d/b/a
RESERVETRAVEL.COM; BUDGETWORKS, INC.,
d/b/a SETAICONDORENTALS.COM; DELTA
AIRLINES d/b/a DELTA,COM; ESSLINGER
WOOTEN MAXWELL, INC. d/b/a
NELSONGONZALEZ.COM; JETBLUE AIRWAYS
CORPORATION d/b/a JETBLUE.COM; FROMMER
MEDIA d/b/a FROMMERS.COM; LEXYL TRAVEL
TECHNOLOGIES d/b/a HOTELPLANNER.COM; IBT
MEDIA INC. d/b/a IBTIMES.COM; MYSOBE.COM
d/b/a MYSOBE.COM; KAYAK SOFTWARE
CORPORATION d/b/a KAYAK.COM;
NETADVANTAGE.COM d/b/a
JIHSADVANTAGE.COM; ORBITZ WORLDWIDE
LLC. d/b/a ORBITZ.COM; QUESTEX MEDIA, LLC.
d/b/a FIVESTARALLIANCE.COM; CEDORA, INC.
d/b/a REALADVENTURES.COM; SETAI OWNERS
LLC. d/b/a SETALCOM d/b/a SETAI-REALTY.COM;
SPA FINDER, INC. d/b/a SPAFINDER.COM; THE
LEADING HOTELS OF THE WORLD d/b/a
LHW.COM; THIS EXIT LLC. d/b/a
ROADSIDEAMERICA.COM; room77 d/b/a
ROOM77.COM; EXPEDIA, INC. d/b/a
EXPEDIA.COM; HOTELS.COM GP LLC. d/b/a
HOTELS,.COM:; d/b/a TRAVELNOW.COM;
RESERVATION COUNTER d/b/a
RESERVATIONCOUNTER.COM; AMERICAN
AIRLINES, INC. d/b/a AAVACATIONS.COM;
UNITED AIRLINES ENC. d/b/a
HOTELS. UNITED.COM; HOTELSBYME.COM d/b/a
HOTELSBYME.COM; SIGNATURE TRAVEL
NETWORK d/b/a
SIGNATURETRAVELNETWORK.COM; FROSCH
INTERNATIONAL TRAVEL, INC. d/b/a
FROSCHVATIONS.COM; VACATIONS BY TZELL

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d/b/a VACATIONBYTZELL.COM; ANDREW
HARPER d/b/a ANDRE WHARPER.COM;
BOOKIT.COM INC. d/b/a BOOKIT.COM; ESCALA
VACATIONS d/b/a ESCALAVACATIONS.COM;
FAREBUZZ d/b/a FAREBUZZ.COM; FAREPORTAL
INC. d/b/a CHEAPOAIR.COM; RANDOM HOUSE
d/b/a FODORS.COM; GETAROOM.COM d/b/a
GETAROOM.COM; GOGOBOT, INC. d/b/a
GOGOBOT.COM; HIPMUNK, INC. d/b/a
HIPMUNKE.COM; HOTELGUIDES.COM, INC. d/b/a
HOTELGUIDES.COM; MARKET ES INC. d/b/a
HOTELS-AND-DISCOUNTS.COM;
HOTELSTRAVEL.COM d/b/a
HOTELSTRAVEL.COM; ESTEBAN OLIVEREZ d/b/a
INSANELYCHEAPFLIGHTS.COM; LUXEMONT
d/b/a JUSTLUXE.COM; LONELY PLANET
GLOBAL, INC, d/b/a LONELYPLANET.COM; LUXE
TRAVEL, LLC. d/b/a LUXETRAVEL.COM;
LUXURY TRAVEL MEDIA d/b/a
LUXURYTRAVELMAGAZINE.COM; METRO
TRAVEL GUIDE d/b/a
METROTRAVELGUIDE.COM; MOBISSIMO INC.
d/b/a MOBISSIMO.COM; NEXTAG, INC. d/b/a
NEXTAG.COM; QANTAS AIRWAYS LIMITED d/b/a
QANTAS.COM.AU; QATAR AIRWAYS d/b/a
ROOMRATE.COM; WK TRAVEL INC. d/b/a
TRAVELSPOT.US. d/b/a ONETRAVEL.COM;
TRAVELOCITY.COM LP d/b/a
TRAVELOCITY.COM; TRIPADVISOR LLC. d/b/a
TRIPADVISOR.COM; TABLET INC. d/b/a
TABLETHOTELS.COM and DOES]-100,

Defendants.
“oe x

COUNSELORS:

PLEASE TAKE NOTICE, that pursuant to Article 31 of the Civil Practice Law and
Rules, defendant by its attorneys, BAXTER SMITH & SHAPIRO, P.C. will cause the
testimony, upon oral examination of all adverse parties herein to be taken before a notary
public who is not an attorney, or employee of an attorney, for any party or prospective party

herein and is not a person who would be disqualified to act as a juror because of interest or

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because of consanguinity or affinity to any party herein, at the United States District Court, ‘The
Southern District of New York, on September 25, 2014 at 10:00 a.m. with respect to all
relevant facts and circumstances in connection with the issues and claims alleged in the first
amended complaint.

Said persons to be examined are required to produce all books, records, printed
materials, objects and papers in their custody and possession that may be relevant to the issues
herein.

Dated: White Plains, New York
July 8, 2014

Yours, etc.,

BAXTER SMITH PARR. P.C,

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moog
us
Sign R/Shapiro

Attorneys for Defendant

DELTA & RLINES d/b/a DELTA.COM;
200 Mainaroneck Avenue, Suite 601

White Plains, New York 10601
(914) 684-1055

By:

TO:

LEASON ELLIS, LLP.
Attommeys for Plaintiff

One Barker Avenue, Fifth Floor
White Plains, New York 10601
(914) 821-3075

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AFFIDAVIT OF SERVICE BY E-FILING

STATE OF NEW YORE.)
COUNTY OF WESTCHESTER) ss.:

ELSA A. COLOTTI, being duly sworn, deposes and says:

Deponent is not a party to the action, is over 18 years of age and resides in
Westchester, New York.

On the 8" day of July 2014, deponent served the within ANSWER TO FIRST
AMENDED COMPLAINT WITH NOTICE OF EXAMINATION BEFORE TRIAL
upon the following at their respective addresses:

TO:

LEASON ELLIS,LLP.
Attorneys for Plaintiff

One Barker Avenue, Fifth Floor
White Plains, New York 10601
(914) 821-3075

by E-FILING. oo

ACEELSA A. COLOTTI
Sworn to before me this
8" day of July, 2014

NOTA POBLIC
f

SIM R/SHAPIRO

Notary Public, State of New York

Reg. No 025H6008722

Qualified in Westchester County

My Commission Expires June 15, 2018

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Civil Action No.: 7:13-ev-09239

UNITED STATES DISTRICT COURT
THE SOUTHERN DISTRICT OF NEW YORK

THE WAVE STUDIO, LLC.,
Plaintiff,

-against~
GENERAL HOTEL MANAGEMENT LTD., ET. AL.,

Defendants.

ANSWER TO FIRST AMENDED COMPLAINT WITH NOTICE OF EXAMINATION
BEFORE TRIAL

BAXTER SMITH & SHAPIRO, P.C.

Attorneys at Law
Attorneys for Defendant
DELTA AIRLINES d/b/a DELTA.COM
200 MAMARONECK AVENUE, SUITE 601
WHITE PLAINS, NEW YORK 10601
(914) 684-1055

